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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

  In re FIRSTENERGY CORP. SECURITIES                   )   No. 2:20-cv-03785-ALM-KAJ
  LITIGATION,                                          )
                                                       )   CLASS ACTION
                                                       )
                                                       )   Judge Algenon L. Marbley
                                                       )   Magistrate Judge Kimberly A. Jolson
                                                       )   Special Master Shawn K. Judge
                                                       )
                                                       )
                                                       )
  MFS Series Trust I, et al.,                          )
                                                       )   Case No. 2:21-cv-05839-ALM-KAJ
                 Plaintiffs,                           )
                                                       )   Chief Judge Algenon L. Marbley
  v.                                                   )   Magistrate Judge Kimberly A. Jolson
                                                       )   Special Master Shawn Judge
  FirstEnergy Corp., et al.,                           )
                                                       )
                 Defendants.                           )
                                                       )
  Brighthouse Funds Trust II – MFS Value               )
  Portfolio, et al.,                                   )   Case No. 2:22-cv-00865-ALM-KAJ
                                                       )
                 Plaintiffs,                           )   Chief Judge Algenon L. Marbley
                                                       )   Magistrate Judge Kimberly A. Jolson
  v.                                                   )   Special Master Shawn Judge
                                                       )
  FirstEnergy Corp., et al.,                           )
                                                       )
                 Defendants.                           )
                                                       )

       POSITION STATEMENT OF DEFENDANTS CHARLES JONES AND MICHAEL
                    DOWLING REGARDING DEPOSITIONS OF
                 MATTHEW RICHLOVSKY AND SANTINO FANELLI 1




 1 Steve Staub, the third person identified by FirstEnergy as being in dispute, is a subject of the
 State of Ohio’s Motion to Stay. Mr. Jones and Mr. Dowling are not seeking to schedule the
 deposition of Mr. Staub until that Motion has been resolved.
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        More than three months ago, on September 27, 2024, Defendant Charles E. Jones noticed

 the depositions of non-parties Matthew Richlovsky (FirstEnergy Director of Long-Term Financial

 Planning) and Santino Fanelli (FirstEnergy Director of Rates and Regulatory Affairs). Mr.

 Richlovsky’s deposition is currently scheduled to take place on January 15 and 16, 2025. Mr.

 Fanelli’s deposition had been scheduled for December 4 and 5, 2024, but was temporarily

 postponed along with several other depositions last year.

        FirstEnergy does not dispute that both of these witnesses have highly relevant information.

 Nevertheless, FirstEnergy objects to Mr. Jones and Mr. Dowling’s efforts to proceed with Mr.

 Richlovsky’s deposition and to re-schedule Mr. Fanelli’s deposition. According to FirstEnergy,

 the “information imbalance” caused by Mr. Jones and Mr. Dowling’s access to confidential

 information produced in the Summit County criminal case prohibits them from deposing these

 FirstEnergy employees.

        Neither Mr. Richlovsky nor Mr. Fanelli was interviewed by the State in connection with

 the criminal case. Neither individual has been subpoenaed, produced documents, or testified in

 connection with the criminal case. Simply put, Mr. Jones and Mr. Dowling received no information

 relating to Mr. Richlovsky or Mr. Fanelli in the criminal proceedings that creates an “imbalance”

 vis-à-vis FirstEnergy or any other party to this litigation. Since Mr. Richlovsky and Mr. Fanelli

 are current FirstEnergy Corp. employees represented by the same legal counsel, it is difficult to

 understand how FirstEnergy suffers from an information imbalance when it has unrestricted access

 to these individuals at any time.

        Mr. Jones and Mr. Dowling believe that the entire concept of an “information imbalance”

 that prohibits them from deposing witnesses with information relevant to this case is misguided.

 Parties are required to take depositions all the time in the absence of perfect parity of information.



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 Indeed, FirstEnergy has at all times throughout this litigation been at a significant informational

 advantage by virtue of two internal investigations conducted by outside counsel that it claims are

 privileged. No party has suggested that depositions cannot proceed because the Company knows

 things as a result of those investigations that other parties do not know. Indeed, uncovering

 previously unknown information is the essential purpose of the discovery process.

        Even if the discovery received in the criminal case could theoretically create an information

 imbalance with regard to some witnesses—which Mr. Jones and Mr. Dowling dispute—it cannot

 reasonably be argued that the depositions of individuals for whom no such criminal discovery was

 received should also be indefinitely stayed.

        In early September 2024, Judge Marbley and Magistrate Judge Jolson instructed the parties

 to “engage in productive, good faith fact discovery.” (ECF No. 684.) More recently, the Special

 Master specifically instructed Defendants to proceed with non-party depositions expeditiously.

 (12/12/2024 Tr. at 61, “Now, FirstEnergy, schedule one and take one quickly. You know, Ms.

 Israel, schedule one take and one. Mr. McCaffrey, schedule one and take one.”) Mr. Jones and Mr.

 Dowling are attempting to do just that.

        Mr. Richlovsky and Mr. Fanelli were specifically selected as the next two non-party

 depositions because they are not impacted by any purported information imbalance. There is no

 legitimate basis upon which FirstEnergy can object to these depositions proceeding. Mr. Jones and

 Mr. Dowling therefore respectfully request that the Court order Mr. Richlovsky’s deposition to

 proceed as scheduled on January 15 and 16, 2025, and instruct FirstEnergy to cooperate in the

 scheduling of Mr. Fanelli’s deposition at the earliest opportunity.




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 Respectfully submitted,


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                                   CERTIFICATE OF SERVICE

        I hereby certify that on January 6, 2025, a copy of the foregoing was filed electronically.

 Notice of this filing will be sent to all parties by operation of the Court’s electronic filing system.

 Parties may access this filing through the CM/ECF system.

                                                        /s/ Rachael L. Israel
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